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		OSCN Found Document:RE REINSTATEMENT OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE REINSTATEMENT OF CERTIFIED SHORTHAND REPORTERS2019 OK 17Decided: 04/08/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 17, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



RE: Reinstatement of Certificate of Certified Shorthand Reporters



O R D E R



The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Court Reporters named below be reinstated as these reporters have complied with the continuing education requirements for calendar year 2018 and/or with the annual certificate renewal requirements for 2019, and have paid all applicable penalty fees.

IT IS HEREBY ORDERED that, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23, the certificates of the following court reporters are reinstated from the suspension earlier imposed by this Court:


	
		
			
			Name &amp; CSR #
			
			
			Effective Date of Reinstatement
			
		
		
			
			Regina Goldsmith, CSR # 908
			
			
			March 21, 2019
			
		
		
			
			Laurie Hoyt, CSR # 547
			
			
			March 20, 2019
			
		
	


&nbsp;

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8TH day of April, 2019.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



&nbsp;





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